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     Assistant Federal Defender
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5
6    Attorney for Defendant
     ZULEMA RODRIGUEZ
7
                                IN THE UNITED STATES DISTRICT COURT
8
9                             FOR THE EASTERN DISTRICT OF CALIFORNIA

10
      UNITED STATES OF AMERICA,                    Case No. 2:18-cr-00191-MCE
11
                       Plaintiff,                 STIPULATION AND ORDER TO CONTINUE
12                                                STATUS CONFERENCE
              v.
13
      ZULEMA RODRIGUEZ,                            DATE:          October 25, 2018
14                                                 TIME           10:00 a.m.
                       Defendant.                  JUDGE:         Hon. Morrison C. England, Jr
15
16
17           IT IS HEREBY STIPULATED by and between McGregor W. Scott, United States

18   Attorney through Justin Lee, Assistant United States Attorney, attorney for Plaintiff, and Heather

19   Williams, Federal Defender, through Assistant Federal Defender Hannah R. Labaree, attorneys

20   for Zulema Rodriguez, that the status conference scheduled for October 25, 2018 be vacated and

21   be continued to December 13, 2018 at 10:00 a.m.

22           Defense counsel requires time to review discovery with the defendant and to continue

23   with the investigation in this case.

24           Based upon the foregoing, the parties agree time under the Speedy Trial Act should be

25   excluded from this order’s date through and including December 13, 2018, pursuant to 18

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      Stipulation and Order                         -1-
      to Continue Status Conference
       Case 2:18-cr-00191-DAD Document 14 Filed 10/24/18 Page 2 of 3



1    U.S.C. §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order 479, Local
2    Code T4 based upon continuity of counsel and defense preparation.
3    DATED: October 19, 2018                    Respectfully submitted,
4
                                                HEATHER E. WILLIAMS
5                                               Federal Defender

6                                               /s/ Hannah R. Labaree
                                                HANNAH R. LABAREE
7                                               Assistant Federal Defender
                                                Attorney for ZULEMA RODRIGUEZ
8
9    DATED: October 19, 2018                    MCGREGOR W. SCOTT
10                                              United States Attorney

11                                              /s/ Justin Lee
                                                JUSTIN LEE
12                                              Assistant United States Attorney
                                                Attorney for Plaintiff
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      Stipulation and Order                       -2-
      to Continue Status Conference
       Case 2:18-cr-00191-DAD Document 14 Filed 10/24/18 Page 3 of 3



1                                                   ORDER
2            The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing, adopts the stipulation in its entirety as its order. It specifically finds that the
4    failure to grant a continuance in this case would deny defense counsel reasonable time necessary
5    for effective preparation, taking into account the exercise of due diligence. The Court further
6    finds that the ends of justice served by granting the continuance outweigh the best interests of the
7    public and defendant in a speedy trial.
8            The Court orders a status conference on December 13, 2018, at 10:00 a.m. The Court
9    orders the time from October 25, 2018 up to and including December 13, 2018, excluded from
10   computation of time within which the trial of this case must commence under the Speedy Trial
11   Act, pursuant to 18 U.S.C. §§3161(h)(7), and Local Code T4.
12           IT IS SO ORDERED.
13   Dated: October 23, 2018
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      Stipulation and Order                            -3-
      to Continue Status Conference
